              Case 2:05-cr-00542-GEB Document 296 Filed 02/27/15 Page 1 of 1


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 5
 6   Attorney for Defendant
     NAM GIA PHAMTRAN
 7
                                UNITED STATES DISTRICT COURT
 8
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10    UNITED STATES OF AMERICA,                       CASE NO. 2:05-CR-00542-GEB
11                        Plaintiff,                  ORDER CONTINUING ARRAIGNMENT
                                                      HEARING
12    vs.

13    NAM GIA PHAMTRAN                                Current Hearing Date:
                  Defendant                           DATE: March 6, 2015
14                                                    TIME: 9:00 A.M.
                                                      PLACE: Honorable Garland E. Burrell Jr.,
15                                                    Judge of the United States District Court
16
17
            GOOD CAUSE APPEARING, IT IS SO ORDERED that the arraignment hearing
18
     presently set for March 6, 2015, at 9:00 a.m., be continued to May 15, 2015, at 9:00 a.m.
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     Dated: February 27, 2015
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